                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF WISCONSIN

KATIE AUSTIN,

                              Plaintiff,                                     Case No. 15-CV-1207
       v.
                                                                             MINUTE SHEET
DECO INC and
ABC INSURANCE COMPANY,

                              Defendants,




 Hon. David E. Jones, presiding.                      Deputy Clerk: Tony Byal
 Type of proceeding:            Telephonic Status Conference
 Date: July 6, 2018 at 10:00 AM                       Court Reporter: Liberty
 Time Commenced: 10:31:09                             Time Concluded: 10:56:23


Appearances:           Plaintiff: Nathaniel Cade Jr
                       Defendant: Vincent James Scipior

Comments:
Court DENIES Motion to File Second Amended Complaint (ECF no. 70).


Court sets trial schedule:
Rule 26(a)(3) Submissions, any Daubert objections, marked deposition transcripts, and proposed voir dire due:
08/10/2018
Oppositions to submissions, objections to deposition transcripts due: 08/31/2018
Final Pretrial Conference set for: 09/14/2018 at 10:00 AM
Three day Jury Trial set for: 09/24/2018 at 9:00 AM


Jury Instructions: If parties want to use 7th circuit Jury Instructions, they may submit a list with any
modifications wanted. If parties want to use something different, they may print out the standard jury
instructions and submit a redline edit of what they want different and what authority there is. This will get
worked out at the final pretrial conference.


Testimony: Parties anticipate using medical professional testimony for trial. Depositions of medical
                Case 2:15-cv-01207-DEJ Filed 07/06/18 Page 1 of 2 Document 74
professionals have not been taken yet. Parties may take testimony by video conference at trial if there are
scheduling issues. Court will accept recorded testimony of medical experts.


Courtroom: Court anticipates using a larger courtroom for trial. There will be a large drop down screen that
can be viewed by the jury and witnesses. Recorded and live video can be projected onto screen. Will try to
reserve this courtroom for the final pretrial conference to let parties get familiar with it. Parties may contact
courtroom deputy to discuss setting up any technology.


Trial: Will start trial by 9:00 AM or 9:30 AM everyday. Each day will end no later than 5:00 PM or 5:30 PM.
Will discuss any accommodations needed at the final pretrial conference.


Demonstrative Exhibits: Demonstrative exhibits will be exchanged between parties before use in trial.
Objections will be discussed at either the start or end of trial day. Will try to resolve all objections at the final
pretrial conference. Exhibits and videos used in openings will be cleared at final pretrial conference.


Voir Dire: Parties usually follow traditional federal voir dire pratices. Parties will discuss ahead of time what
questions they want in voir dire. Will not question entire venire at the same time. Will listen to parties if they
want to do something different.


Court urges parties to meet and confer on any issues to work out before the final pretrial conference. Parties
may contact courtroom deputy with questions.




                  Case 2:15-cv-01207-DEJ Filed 07/06/18 Page 2 of 2 Document 74
